Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 1 of 55
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   1
                                                                             Gabapentin project – Forrest plots for gabapentin vs. placebo
                                                                                                        Dr. Thomas L. Perry, July 30, 2008
                                                                      Mortality (Outcome 01)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 2 of 55




                                                                      Summary
                                                                      Number of trials = 9; G =3/1266 (0.24%) and P = 2/931(0.21%)
                                                                      RR with 95% CI = 0.92(0.21, 3.97)
                                                                      No significant difference between gabapentin vs. placebo groups
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   2
                                                                      Number of patients with 1 or more serious adverse event/SAE (Outcome 02)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 3 of 55




                                                                      Summary
                                                                      Number of trials = 10; G =48/1281 (3.7%) and P = 32/942(3.4%)
                                                                      RR with 95% CI = 1.15(0.74, 1.77)
                                                                      No significant difference between gabapentin vs. placebo groups.
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   3
                                                                      Total withdrawals (Outcome 03)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 4 of 55
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   4
                                                                      Total withdrawals (continued)
                                                                      Summary
                                                                      Number of trials = 15; G =288/1496 (19.3%) and P = 214/1156 (18.5%)
                                                                      RR with 95% CI = 1.06(0.90, 1.24)
                                                                      No significant difference between gabapentin vs. placebo groups
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 5 of 55
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   5
                                                                      Withdrawal due to adverse events (Outcome 04)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 6 of 55




                                                                      Summary
                                                                      Number of trials = 16; G =168/1524 (11.0%) and P = 96/1184 (8.1%)
                                                                      RR with 95% CI = 1.36(1.07, 1.73)
                                                                      ARI (absolute risk increase) = 2.9%, NNH = 35; favours placebo
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   6
                                                                      PGIC (7 point scale) “moderately or much improved” as a pre-defined outcome
                                                                      (Outcome 05)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 7 of 55




                                                                      Summary
                                                                      Number of trials = 7; G =428/1134 (37.7%) and P = 169/823 (20.5%)
                                                                      RR with 95% CI = 1.78(1.53, 2.07)
                                                                      ARR (absolute difference) = 17.2%, NNT = 6; favours gabapentin
                                                                      Overall results heterogeneity is significant and may be due to the lower effect size of
                                                                      PDPN trials than the effect size for trials for other pain conditions.
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   7
                                                                      Mean change from baseline in NRS/Likert or VAS pain score (Outcome 06)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 8 of 55




                                                                      Summary
                                                                      Number of trials = 9; G =1101 and P = 816
                                                                      WMD with 95% CI = -0.78(-0.99, -0.58); favours gabapentin
                                                                      There is significant heterogeneity present when PDPN trials and PHN trials are combined.
                                                                      Notes:
                                                                      1. There is no statistically significant heterogeneity (p =0.22) for PDPN trials. G =564 and P = 383
                                                                         For PDPN, WMD with 95% CI = -0.48(-0.78, -0.18) in the analysis shown above
                                                                      2. The 95% CI of the WMD for PDPN and PHN trials are significantly different and do not overlap.
                                                                      APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   8
                                                                      > 50% reduction in NRS/VAS pain score from baseline (Outcome 07)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 9 of 55




                                                                      Summary
                                                                      Number of trials = 3; G =181/576 (31.4%) and P = 83/452(18.4%)
                                                                      RR with 95% CI = 1.72(1.36, 2.17)
                                                                      ARR (absolute difference) = 13%, NNT = 8; favours gabapentin
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   9
                                                                       Specific adverse events (Outcome 08)
                                                                       (Forrest plot on next page since it does not fit on one page)
                                                                       ARI: absolute risk increase
                                                                       Dizziness
                                                                       # of trials = 13; G =300/1194 (25.1%) and P = 75/1023 (7.3%)
                                                                       RR with 95% CI = 3.35(2.64, 4.24); ARI = 17.8%, NNH = 6
                                                                       Somnolence
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 10 of 55




                                                                       # of trials = 11; G =220/1061 (20.7%) and P = 48/892 (5.4%)
                                                                       RR with 95% CI = 3.74(2.78, 5.02); ARI = 15.3%, NNH = 7
                                                                       Confusion
                                                                       # of trials = 2; G =23/197 (11.7%) and P = 3/192 (1.6%)
                                                                       RR with 95% CI = 7.49(2.29, 24.5); ARI = 10.1%, NNH = 10
                                                                       Ataxia
                                                                       # of trials = 4; G =24/207 (11.6%) and P = 3/203 (1.5%)
                                                                       RR with 95% CI = 4.89(1.96, 12.19); ARI = 10.1%, NNH = 10
                                                                       Light headedness
                                                                       # of trials = 1; G =11/75 (14.7%) and P = 1/75 (1.3%)
                                                                       RR with 95% CI = 11.0(1.46, 83.08); ARI = 13.4%, NNH = 7.5
                                                                       Aesthenia
                                                                       # of trials = 4; G =46/518 (8.8%) and P = 19/395 (4.8%)
                                                                       RR with 95% CI = 1.99(1.19, 3.35); ARI = 4.0%, NNH = 25
                                                                       Lethargy
                                                                       # of trials = 1; G =24/207 (11.6%) and P = 3/203 (1.5%)
                                                                       RR with 95% CI = 4.89(1.96, 12.19); ARI =10.1 %, NNH = 10
                                                                       Edema
                                                                       # of trials = 5; G =77/631 (12.2%) and P = 17/511 (3.3%)
                                                                       RR with 95% CI = 3.80(2.33, 6.47); ARI = 8.9%, NNH = 11
                                                                       All CNS adverse events
                                                                       # of trials = 2; G =122/448 (27.2%) and P = 39/266 (14.7%)
                                                                       RR with 95% CI = 2.30(1.66, 3.185); ARI = 12.5%, NNH = 8
                                                                       Specific adverse events (Outcome 08)
                                                                       Forrest plot follows on next page …
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   10
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 11 of 55
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   11
                                                                       Total number of patients with adverse events (Outcome 09)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 12 of 55




                                                                       Summary
                                                                       Number of trials = 12; G =887/1312 (67.6%) and P = 580/1050(55.2%)
                                                                       RR with 95% CI = 1.25(1.17, 1.34)
                                                                       ARI (absolute risk increase) = 12.4%, NNH = 8; favours placebo
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   12
                                                                       SENSITIVITY ANALYSIS No. 1: NRS/VAS pain score (Outcome 06)
                                                                       (omission of Backonja 1998 trial as potentially biased estimate due to unblinding)
                                                                       Mean change from baseline in NRS/VAS pain score (Outcome 06)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 13 of 55




                                                                       Summary
                                                                       Number of trials = 8; G = 1019 and P = 736
                                                                       WMD (weighted mean difference) with 95% CI = -0.74(-0.96, -0.52); favours gabapentin
                                                                       There is significant heterogeneity present when PDPN trials and PHN trials are combined.
                                                                       WMD for change in pain score is slightly lower with Backonja 1998 removed.
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   13
                                                                       SENSITIVITY ANALYSIS No. 2: PGIC (Outcome 05)
                                                                       (omission of Backonja as potentially biased estimate due to unblinding)
                                                                       PGIC (7 point scale) moderately or much improved as a pre defined outcome (Outcome 5)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 14 of 55




                                                                       Summary
                                                                       Number of trials = 6; G = 381/1050 (36.3%) and P = 144/742(19.4%)
                                                                       RR with 95% CI = 1.77(1.51, 2.09)
                                                                       ARR (absolute difference) = 16.9%, NNT = 6; favours gabapentin
                                                                       Overall results heterogeneity is significant and may be due to the lower effect size of
                                                                       PDPN trials than the effect size for trials for other pain conditions.
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   14
                                                                       SENSITIVITY ANALYSIS No. 3: PGIC (Outcome 5)
                                                                       (omission of PHN trials Rowbotham and Rice – to segregate PHN from other pain conditions)
                                                                       PGIC (7 point scale) moderately or much improved as a pre defined outcome (Outcome 5)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 15 of 55




                                                                       Summary
                                                                       Number of trials = 5; G =295/798 (37.0%) and P = 131/596(22%)
                                                                       RR with 95% CI = 1.62(1.37, 1.93)
                                                                       ARR (absolute difference) = 15%, NNT = 6.7; favours gabapentin
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   15
                                                                       SENSITIVITY ANALYSIS No. 4: NRS/VAS pain score (Outcome 06)
                                                                       (omission of PHN trials Rowbotham and Rice – to segregate PHN from other pain conditions)
                                                                       Mean change from baseline in NRS/VAS pain score (Outcome 06)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 16 of 55




                                                                       Summary
                                                                       Number of trials = 6; G = 687 and P = 509
                                                                       WMD with 95% CI = -0.36(-0.63, -0.09); favours gabapentin
                                                                       There is no significant heterogeneity present when PHN trials are omitted.
                                                                       Estimate of WMD is lower without 2 PHN trials.
                                                                       APPENDIX – GABAPENTIN PROJECT - Forrest plots for gabapentin vs. placebo - Dr. Thomas L. Perry, July 30, 2008   16
                                                                       SENSITIVITY ANALYSIS No. 5: > 50% reduction in NRS/VAS pain score (Outcome 07)
                                                                       (omission of PHN trials Rice – to segregate PHN from other pain conditions)
                                                                       > 50% reduction in NRS/VAS pain score from baseline (Outcome 07)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 17 of 55




                                                                       Summary
                                                                       Number of trials = 2; G =107/353 (30.3%) and P = 67/341(19.6%)
                                                                       RR with 95% CI = 1.53(1.18, 2.00)
                                                                       ARR (absolute difference) = 10.7%, NNT = 9; favours gabapentin
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 18 of 55
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 19 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo       1
Dr. Thomas L. Perry, August 8, 2008

                                     GABAPENTIN VS PLACEBO TRIALS
                                     Dr. Thomas L. Perry, August 8, 2008

Included trials:

A) Painful Diabetic Peripheral Neuropathy (PDPN): 4 trials

1. Backonja PDPN (Study 945-210; also published 1998)
Outcome                               Gabapentin 900 to          Placebo         Comments
                                        3600mg/day

Screened                                    Screened 232; randomized 165
Randomized                                   84                     81
Mortality                                   0/84                   0/81
Total number of patients with 1             3/84                   2/81
or >SAE
Total withdrawals                            14/84                 16/81
WDAE                                          7/84                  5/81
Global function                               NR                     NR
Mean baseline to end point diff in     -2.6 (2.5) N = 82      -1.4(1.7) N = 80
pain score
50% reduction in pain score from             NR                     NR           Not a pre-specified
baseline                                                                         endpoing
PGIC                                        47/84                  25/81
Total number of patients with               70/84                  54/81
1 or >adverse events
Specific AE
Dizzness                                    20/84                  4/81
Somnolence                                  19/84                  5/81
Confusion                                    7/84                  1/81

Total numbers of AEs in gabapentin and placebo groups is not reported
                    Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 20 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo      2
Dr. Thomas L. Perry, August 8, 2008


2. Gorson PDPN (No study number; published 1999 and unpublished report)

Outcome                              Gabapentin 900mg/day           Placebo         Comments

Screened                                      126 screened; 53 randomized           Published
                                                                                    report
                                                                                    N = 40 patients
Randomized                                    53                      53
                                        Phase I G = 19          phase I P = 21
Mortality                                    0/53                    0/53
Total number of patients with 1              0/53                    0/53
or > SAE
Total withdrawals                              NR                       NR
WDAE                                           4/53                    4/53
Global function                                NR                       NR
Mean baseline to end point diff in      -1.8 (3.1) N = 40        -1.4(2.1) N = 40
pain score
> 50% reduction in pain score                 NR                        NR
from baseline
PGIC                                          NR                        NR          non-equivalent
                                                                                    scale
Total number of patients with 1              16/40                      5/40        Reported in
or >adverse events                                                                  usable form
                                                                                    only for this
                                                                                    denominator
Specific AE                                                                         Reported in
Drowsiness                                    6/40                      0/40        usable form
Imbalance                                     3/40                      0/40        only for this
Fatigue                                       4/40                      0/40        denominator
Dizziness                                     1/40                      1/40

Total numbers of AEs in gabapentin and placebo groups is not reported
                       Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 21 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                    3
Dr. Thomas L. Perry, August 8, 2008



3. Parsons PDPN (Study 945-1008; unpublished only 2005)
Outcome                          Gabapentin 3600mg/day             Placebo            Comments

Screened                                   724 screened; 389 randomized
Randomized                                  200                       189
Mortality                                 1/200                      1/189
Total number of patients with             15/200                    15/189
1 or >SAE
Total withdrawals                          64/200                    54/189
WDAE                                       25/200                    17/189
Global function                              NR                        NR
Mean baseline to end point        -1.74 (2.3) N = 195/200    -1.4 (2.3) N = 186/189   Reported difference in
diff in pain score                                                                    detailed study summary
                                                                                      table:
                                                                                      -0.34(-0.77, 0.09) p = 0.12
50% reduction in pain score               75/200                    45/189
from baseline
PGIC                                      85/200                   50/189
Total number of patients                 159/200                   126/189
with 1 or >adverse events
Specific AE
All nervous system                        83/200                    33/189
Dizziness                                 38/200                    15/189
Somnolence                                31/200                     8/189
Aesthenia (weakness)                      22/200                     8/189
Peripheral edema                          33/200                     7/189

Total adverse events G =521; Pbo = 326
                     Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 22 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                   4
Dr. Thomas L. Perry, August 8, 2008



4. Reckless PDPN (Study 945-224; unpublished only 2000)
Outcome                      Gabapentin       Gabapentin    Gabapentin      ALL GBP      Placebo      Comments
                             600mg/day        1200mg/day    2400mg/day       groups

Screened                                           Screened 432; randomized 325
Randomized                        82              82              84            248          77
Mortality                        0/82            0/82            0/84          0/248        0/77
Total number of patients         5/82            2/82            3/84         10/248        4/77
with 1 or >SAE
Total withdrawals                12/82            6/82          19/84         37/248        12/77
WDAE                              8/82            3/82          11/84         22/248        8/77
Global function                    NR             NR             NR             NR           NR
Mean baseline to end point   -1.4 (2.0) N =    -2.2 (2.2)     -2.1 (2.5)     -1.9(2.2)    -1.7(2.1)
diff in pain score (LOCF)          82           N = 82         N = 83        N = 247       N = 77
50% reduction in pain              NR             NR             NR             NR           NR       Not a pre-
score from baseline                                                                                   specified
                                                                                                      outcome
PGIC                             22/82          36/82          36/83         94/248        26/77
Total number of patients         40/82          35/82          45/84         120/248       36/77
with 1 or >adverse
events
Specific AE
Nervous system                   10/82          10/82          19/84          39/248        6/77
(combined)

Calculation for 3 gabapentin groups together
Weighted mean change = [114.8 +180.4 +174.3] / 247 =469.5 / 247 = 1.9
Weighted mean SD of change = [164 +180.4 +207.5] / 247 + 551.9 / 247 = 2.23

Total numbers of AEs in gabapentin and placebo groups not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 23 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo         5
Dr. Thomas L. Perry, August 8, 2008



B) Post-herpetic neuralgia (PHN): 2 trials

5. Rowbotham PHN (Study 945-211; also published 1998)
Outcome                              Gabapentin 3600mg/day or             Placebo         Comments
                                      maximum tolerated dose
Screened                                        292 screened; 229 randomized
Randomized                                      113                         116
Mortality                                      0/113                       1/116
Total number of patients with 1 or            10/113                       5/116
> SAE
Total withdrawals                              24/113                      21/116
WDAE                                           21/113                      14/116
Global function                                  NR                          NR
Mean baseline to end point diff in     -2.1 (2.1) N = 109/113        -0.5 (1.6) N = 116
pain score
50% reduction in pain score from                NR                          NR
baseline
PGIC                                          47/113                      14/116
Total number of patients with 1               84/113                      60/116
or >adverse events
Specific AE
Dizziness                                     27/113                       6/116
Somnolence                                    31/113                       6/116
Ataxia                                         8/113                       0/116
Peripheral edema                              11/113                       4/116


Total numbers of AEs in gabapentin = 278 and placebo group = 151 (page 1/16 in detailed study summary)
                     Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 24 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                          6
Dr. Thomas L. Perry, August 8, 2008




6. Rice PHN (Study 945-295; also published 2001)
Outcome                         Gabapentin          Gabapentin        OVERALL GBP          Placebo             Comments
                                1800mg/day          2400mg/day        group

Screened                                            411 screened; 334 randomized
Randomized                          115                 108                223                   111
Mortality                          0/115               1/108              1/223                 0/111
Total number of patients           3/115               1/108              4/223                 1/111
with 1 or >SAE
Total withdrawals                   22/115              23/108              45/223              17/111
WDAE                                15/115              19/108              34/223               7/111
Global function                       NR                  NR                  NR                  NR
Mean baseline to end point    - 2.2(2.5) N =115   - 2.3(2.1) N =108   -2.25(2.4) N = 223   -1.1(2.3) N = 111
diff in pain score
50% reduction in pain score        37/115              37/108              74/223               16/111
from baseline
PGIC                               44/115              42/108               86/223              24/111
Total number of patients           81/115              81/108              162/223              55/111
with 1 or >adverse events
Specific AE
Dizziness                          36/115              36/108              72/223               11/111
Somnolence                         20/115              22/108              42/223                7/111
Peripheral edema                   6/115               12/108              18/223                0/111
Asthenia                           7/115               6/108               13/223                4/111


Total AEs G1800 =180; G 2400=206; Pbo = 112 (pg 6 of 18)
Calculation for both GBP groups together; weighted mean change= [253 +248.4] / 223 =501.4 / 223=2.25
Weighted mean SD of change = [287.5 + 248.4] / 223 = 535.9 / 223 = 2.4
Used end of treatment SD for imputation
                     Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 25 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                7
Dr. Thomas L. Perry, August 8, 2008




C) Post-operative chronic neuropathic pain: 1 trial

7. GORDH Nordic study POPP (Study 945-271; unpublished only 2003)
Outcome                           Gabapentin 2400mg/day                Placebo            Comments
Screened                        159 screened; randomized 120; exposed to G 113; exposed
                                                    to placebo 111
Randomized                                G/P =61                      P/G = 59
Mortality                                  0/113                         0/111
Total number of patients with              2/113                         3/111
1 or >SAE
Total withdrawals                         11/113                         9/111
2/120 during wash out
accounted in Pbo group
WDAE                                       7/113                           4/111
Global function                             NR                              NR
Mean baseline to end point             Overall results at the end of treatment NR
diff in pain score                 Reported at end of Rx 1 and Rx 2 so cannot be used
Pain intensity score
50% reduction in pain score                 NR                            NR              Not a pre-specified
from baseline                                                                             outcome comparable
                                                                                          to other studies
PGIC                                      21/113                         8/11
Total number of patients                  91/113                        72/111
with 1 or >adverse events
Specific AE
Dizziness and vertigo                     39/113                         9/111
Malaise & tiredness                       31/113                        17/111
Headache (inc migraine)                   18/113                        20/111
Nausea /vomiting                           8/113                        10/111
Confusion                                 16/113                         2/111

Total numbers of AEs in gabapentin = 241 and placebo group = 168
                     Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 26 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                8
Dr. Thomas L. Perry, August 8, 2008



D) Mixed neuropathic pain: 2 trials

8. Serpell (Study 945-430-306; also published 2002)
Outcome                         Gabapentin 900 to 2400mg/day               Placebo           Comments
Screened                           351 screened; 307 randomized (2 withdrew prior to drug)
Randomized                                   153                             152
Mortality                                   0/153                           0/152            See detailed
                                                                                             discussion of
                                                                                             mortality/SAE in
                                                                                             detailed study
                                                                                             summary
Total number of patients with               2/153                            2/152
1 or >SAE
Total withdrawals                           32/153                           41/152
WDAE                                        24/153                           25/152
Global function                               NR                               NR
Mean baseline to end point            -1.5 (2.6) N =150                -1.0 (2.6) N = 148
diff in pain score                 SD end of RX used =2.6           SD end of RX used =2.6
>50% reduction in pain score                32/153                           22/152
from baseline
PGIC                                       48/153                           22/138
Total number of patients                   117/153                          103/152
with 1 or >adverse events
Specific AE
Somnolence                                 22/153                             8/152
Dizziness                                  37/153                            12/152


Total AEs : G = 336 and P = 223 (Table pg 2)
                             Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 27 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                                             9
Dr. Thomas L. Perry, August 8, 2008



9. Gilron (No study number; published 2005)
Outcome                                                                Gabapentin        Morphine       G 2400mg/day +            Placebo
                                                                       3200mg/day       120mg/day          Morphine            (Lorezapam
                                                                                                           60mg/day             1.6mg/day)
Screened                                                                                   86 screened 57 randomized
Total randomized                                                                 57 of which 41 completed all 4 treatment periods
Randomized during
Period A                                                                   13               16                 14                  14
Period B                                                                   11               10                 13                  12
Period C                                                                   11               13                  9                  10
Period D                                                                   13               10                 11                   8
Total in each group=                                                       48               49                 47                  44
Mortality                                                                 NR               NR                 NR                  NR
Total number of patients with 1 or >SAE                                   NR               NR                 NR                  NR
Total withdrawals = 16                                                    4/48             5/49               6/47                1/44
WDAE                                                                      0/48             0/49               3/47                0/44
*inferred from close reading of p. 1328 under “Subjects”
and “Primary Outcome”
Global function                                                           NR               NR                 NR                  NR
Mean change from baseline in pain score                                   NR               NR                 NR                  NR
Baseline mean = 5.72 (1.74); N = 57(SD – calculated as SE of
0.23 x root 57) – values taken from p. 1328 of Gilron)Primary
outcome was mean pain scores in each group at maximal
tolerated dose (p. 1327) – the change from baseline can only be
estimated from figures and is therefore not meta-analysable.
>50% reduction in pain score from baseline                                NR                NR                 NR                 NR
PGIC Reporting of best 3/6 categories of a 6-point scale                  NR                NR                 NR                 NR
is not suitable for meta-analysis with best 2/7 of the
conventional PGIC scale.
Total number of patients with 1 or >adverse events ** not                 NR                NR                 NR                 NR
reported numerically – impossible to calculate accurately
for meta-analysis
Specific AE [at max tolerated dose]***                                    NR                NR                 NR                 NR
***Provided as % without providing denominators at week 4 in each Rx
group – also active placebo comparator (lorazepam) invalidates
comparisons for specific outcomes used in meta-analysis.
Total numbers of AEs in gabapentin and placebo groups is not reported
                     Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 28 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo               10
Dr. Thomas L. Perry, August 8, 2008


E) Cancer Neuropathic Pain: 1 trial

10. Caraceni (Study 945-420-276; also published 2004)
Outcome                                       Gabapentin 600 to       Placebo   Comments
                                                1800mg/day
Screened                                        691 screened; randomized 121    Patients on stable dose of
                                                                                opioid and additional opioid
                                                                                as needed.
Randomized                                   80 (79 received drug)      41
Mortality                                             1/79             0/41
Total number of patients with 1 or >SAE               1/79             0/79
Total withdrawals                                    21/79             10/41
WDAE                                                  6/79             3/41
Global function                                       NR                NR
Mean baseline to end point diff in pain               NR                NR
score {Global pain score)
VAS/NRS
>50% reduction in pain score from baseline           NR                 NR
Pain intensity difference
PGIC                                                 NR                 NR
Total number of patients with 1 or                  10/41              35/79
>adverse events
Specific AE
Somnolence                                          19/79              4/41
Dizziness                                           8/79               0/41
Headache

Total numbers of AEs in gabapentin and placebo groups is not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 29 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                   11
Dr. Thomas L. Perry, August 8, 2008



F) Spinal Cord injury neuropathic pain: 2 trials

11. Rintala (no study number, published 2002)
Outcome                             Gabapentin           Amitriptyline      Active Placebo    Comments
                                    3600 mg/day           150mg/day        (Diphenhydramine
                                                                              75mg/day)
Screened                                          50 screened; randomized 38
                                               22/38(58%)completed all 3 phases
Randomized and exposed to                32                   34                  31
drug
Mortality                               NR                    NR                  NR
Total number of patients with 1         NR                    NR                  NR
or >SAE
Total withdrawals/exposed               6/32                 6/34                 3/31        Do not use active
                                                                                              placebo arm for TW
WDAE                                    5/32                 4/34                 2/31        Do not use active
                                                                                              placebo arm for
                                                                                              WDAE
Global function                         NR                    NR                  NR
Mean baseline to end point diff    Data cannot be    Data cannot be used    Data cannot be
in pain score^                          used                                     used
Data cannot be used
^ Not reported as ITT with
LOCF
50% reduction in pain score             NR                    NR                  NR
from baseline
PGIC                                    NR                    NR                  NR
Total number of patients                NR                    NR                  NR
with 1 or >adverse events
Specific AE                              NR                    NR                 NR
Absolute numbers not reported
but presented as % of side
effect reports
See calculation of exposed/withdrawals in detailed study table
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 30 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo              12
Dr. Thomas L. Perry, August 8, 2008


12. Levendoglu (no study number, published 2004)
Outcome                                           Gabapentin 900 to        Placebo         Comments
                                                    3600mg/day
Screened                                             Screened= ? ; randomized = 20
Randomized                                               20                   20
Mortality                                               NR                   NR
Total number of patients with 1 or >SAE since \         NR                   NR
Total withdrawals                                       0/20                 0/20
WDAE                                                    0/20                 0/20
Global function                                         NR                   NR
Mean baseline to end point diff in pain score           NR                   NR      Reporting is not
(not reported consistently with other studies)                                       consistent with any
                                                                                     other study, not meta-
                                                                                     analysable
>50% reduction in pain score from baseline              NR                  NR
PGIC                                                    NR                  NR
Total number of patients with 1 or                     13/20                5/20
>adverse events
Specific AE
Asthenia (weakness)                                     5/20                2/20
Sedation                                                3/20                0/20
Dizziness (vertigo)                                     3/20                1/20
Edema                                                   3/20                0/20

Total # of AEs G = 17 and P = 6
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 31 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo           13
Dr. Thomas L. Perry, August 8, 2008
F) Complex Regional pain Syndrome – type 1: 1 trial

13. van de Vusse A (no study number; ublished 2004)
Outcome                                   Gabapentin            Placebo   Comments
                                          1800mg/day
Screened                                    151 screened; 58 randomized    P=50/56 exposed, completed,
                                                                           G=49/53 exposed, completed;
                                                                             46 completed crossover
Randomized                                  G/P=29             P/G=29
Total withdrawals = 12                       4/53               6/56
2 during wash out
(numerator/exposed to drug)
WDAE (numerator/exposed to drug)             3/53                0/56
Mortality                                    NR                  NR
Total number of patients with 1 or           NR                  NR
>SAE
Global function                               NR                 NR
Mean baseline to end point diff in pain       NR                 NR       Completer analysis with
score VAS/NRS mean (SD)                                                   unsatisfactory presentation of
                                                                          numerical outcomes, which
                                                                          cannot be meta-analysed.
50% reduction in pain score from              NR                 NR
baseline
PGIC                                          NR                 NR
Total number of patients with 1 or           36/54              21/51
>adverse events
Specific AE
Dizziness                                    20/54               2/51
Somnolence                                   15/54               3/51
Lethargy                                     11/54               1/51
Ataxia                                        8/54               0/51
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 32 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo              14
Dr. Thomas L. Perry, August 8, 2008
G) Post-amputation phantom limb or residual limb pain: 3 trials

14. Bone (no study number; published 2002) – provides no usable data for meta-analysis

Outcome                                   Gabapentin 2400mg/day or             Placebo           Comments
                                           maximum tolerated dose

Screened                                                33 screened; randomized 19
Randomized                                         G/P =10                      P/G = 9
Total withdrawals                             Not interpretable            Not interpretable
WDAE                                                 NR                           NR
Mortality                                            NR                           NR
Total number of patients with 1 or                   NR                           NR
>SAE
Global function                                      NR                           NR
Mean baseline to end point diff in pain    Data cannot be used as       Data cannot be used as   Unusable
score Mean (SD)                                   reported                     reported          because of
                                                                                                 reporting
50% reduction in pain score from                    NR                            NR
baseline
PGIC                                                NR                            NR
Total number of patients with 1 or                  NR                            NR
>adverse events
Specific AE (denominators not                                                                    Unusable
reported                                             7                             2             because of
Somnolence                                           2                             1             reporting
Dizziness                                            2                             1
                                                     1                             1
Headache
Nausea
                        Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 33 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo   15
Dr. Thomas L. Perry, August 8, 2008
15. Smith (no study number; published 2005)
Outcome                         Gabapentin           Placebo        Comments
                                3600 mg/d

Screened                      78 screened; 24 randomized to cross
                                     over (P/G=13, G/P=11)
Randomized & exposed to              24                 24          As reported in text
drug
Mortality                                      NR
Number of patients with 1                      NR
or more SAEs
Total withdrawals                  0/24                0/24
WDAE                               0/24                0/24
Global function                    NR                  NR
Mean baseline to end                                                Use phantom limb
point difference in pain                                            pain, which has
score:                                                              higher numeric
Phantom limb pain               -0.94 (1.98)        -0.49 (2.20)    values at baseline
Residual limb pain              -1.22 (2.56)        -0.74 (1.94)    and endpoint for
                                                                    both G and P:
                                                                    (more sensitive
                                                                    indicator) –
                                                                    differences for
                                                                    phantom limb or
                                                                    residual limb pain
                                                                    (G vs P) are similar
                                                                    and immaterial to
                                                                    results of meta-
                                                                    analysis.
50% reduction in pain               NR                  NR
score from baseline
PGIC                                NR                  NR


Total number of patients            NR                  NR
with 1 or > AE
Total AE not reported.
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 34 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                         16
Dr. Thomas L. Perry, August 8, 2008
16. Nikolajsen (no study number; published 2006)
Outcome                     Gabapentin 2400mg/day                Placebo             comments

Screened                    ? screened; 46 randomized; 12 withdrew; 41 “evaluable”
                                                  (?LOCF)
Randomized                             23                           23
ITT-LOCF population at               21/23                        20/23
first scheduled
assessment, 1 week
Mortality                             NR                           NR                G = 1 death > 2 months after end of
                                                                                     treatment, not reasonably ascribable to
                                                                                     treatment
SAEs                                  NR                           NR
Total withdrawals during              7/23                         5/23
30 day medication phase
WDAE                                  2/23                         2/23
Global function                       NR                           NR
Mean baseline to end                  NR                           NR                Pain reported only as group median
point diff in pain score                                                             scores derived from patient mean
(back pain at rest, LOCF)                                                            pain scores. Cannot use results for
                                                                                     meta-analysis.
50% reduction in pain                 NR                           NR
score from baseline
PGIC                                  NR                           NR
Total AE (patients with               9/23                         8/23
AE)
Specific AE                           NR                           NR

Total AE: not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 35 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo   17
Dr. Thomas L. Perry, August 8, 2008




H) Fibromyalgia: 1 trial

17. Arnold (no study number; published 2007)
Outcome                                   Gabapentin 300mg/day or          Placebo   Comments
                                              to 2400mg/day
Screened                                           252 screened; randomized 150
Randomized                                          75                        75
Total withdrawals                                  18/75                    13/75
WDAE                                               12/75                     7/75
Mortality                                           NR                       NR
Total number of patients with 1 or                  NR                       NR
>SAE
Global function                                     NR                      NR
Mean baseline to end point diff in pain             NR                      NR
score Mean (SD)
50% reduction in pain score from                    NR                      NR
baseline
PGIC                                                NR                      NR
Total number of patients with 1 or                  NR                      NR
>adverse events
Specific AE
Somnolence                                         18/75                    3/75
Dizziness                                          19/75                    7/75
Light headedness                                   11/75                    1/75
Edema                                              12/75                    6/75
                                                   6/75                     5/75
Aesthenia                                                                   0/75
Weight gain                                        6/75

Total Adverse events were not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 36 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo    18
Dr. Thomas L. Perry, August 8, 2008



I) Painful HIV-associated neuropathy: 1 trial

18. Hahn (no study number; published 2004)
Outcome                                   Gabapentin 400mg/day to            Placebo     Comments
                                               2400mg/day
Screened                                         Screened not reported; randomized 26
Randomized                                          15                          11
Total withdrawals                                  1/15                        1/11
WDAE                                               1/15                        0/11
Mortality                                           NR                         NR
Total number of patients with 1 or                 1/15                        0/11
>SAE
Global function                                     NR                         NR
Mean baseline to end point diff in pain             NR                         NR
score Mean (SD)
50% reduction in pain score from                    NR                         NR
baseline
PGIC                                                NR                         NR
Total number of patients with 1 or                  NR                         NR
>adverse events
Specific AE
Somnolence                                         12/15                       2/11
Dizziness                                           9/15                       5/11
Ataxia                                              7/15                       3/11


Total Adverse events were not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 37 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo    19
Dr. Thomas L. Perry, August 8, 2008



J) Chronic pain of masticatory muscles: 1 study

19. Kimos (no study number; published 2007)
Outcome                                   Gabapentin 300mg/day to            Placebo     Comments
                                               4200mg/day
Screened                                               Screened 79; randomized 50
Randomized                                          25                           25
Total withdrawals                                  6/25                         8/25
WDAE                                                NR                          NR
Mortality                                           NR                          NR
Total number of patients with 1 or                  NR                          NR
>SAE
Global function                                     NR                         NR
Mean baseline to end point diff in pain             NR                         NR
score Mean (SD)
50% reduction in pain score from                    NR                         NR
baseline
PGIC                                                NR                         NR
Total number of patients with 1 or                  NR                         NR
>adverse events
Specific AE
Somnolence                                         7/25                       5/25
Dizziness                                          7/25                       2/25
Memory and cognitive impairment                    4/25                       1/25
Ataxia
                                                   1/25                       0/25
Weight gain                                        1/25                       0/25

Total Adverse events were not reported
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 38 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                           20
Dr. Thomas L. Perry, August 8, 2008
K) Chronic low back pain: 1 study

20. McCleane (no study number; published 2001)
Outcome                      Gabapentin 1200mg/day                  Placebo              comments

Screened                     ? screened; 80 randomized; 65 evaluable; 8 dropped out
                             (not reported by group); 7 failed to complete pain scores
Randomized                               40                            40
ITT-LOCF population                      31                            34
Mortality                                NR                            NR
SAEs                                     NR                            NR
Total withdrawals                        NR                            NR                Reported only for all patients, not by
                                                                                         treatment group
WDAE                                     NR                           NR
Global function                          NR                           NR
Mean baseline to end           -0.51 (2.07), N=31/40         +0.01 (1.98), N=34/40       Table reports means at baseline and
point diff in pain score                                                                 week 8 endpoint, SD for difference
(back pain at rest, LOCF)                                                                calculated as mean of (SDbaseline +
                                                                                         SDendpoint) for G, P
50% reduction in pain                   NR                            NR
score from baseline
PGIC                                    NR                            NR
Total AE (patients with                 NR                            NR
AE)
Specific AE                             NR                            NR                 Unclear whether reported AE are
                                                                                         number of patients or number of AE;
                                                                                         therefore not used.
Total AEs: G =19; Pbo = 13
                      Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 39 of 55

APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis: gabapentin vs. placebo                            21
Dr. Thomas L. Perry, August 8, 2008




Excluded from analysis of gabapentin vs. placebo
21. Morello 1999: Active comparator trial No Placebo CONTROL

22. Dallocchio 2000: Active comparator trial No Placebo CONTROL; Open label so include only for Mortality, SAE and AE analysis

23. Chandra 2006: Active comparator trial NO Placebo CONTROL

24. GOMEZ- PEREZ 2004: No Placebo CONTROL so EXCLUDE

25. Tai, Rao 2007: EXCLUDE from analysis (see Dr. Perry’s comments in detailed study summary table)
                                                                       APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot   22
                                                                       analysis: gabapentin vs. placebo
                                                                       Dr. Thomas L. Perry, August 8, 2008
                                                                       End of Appendix
                                                                                                      *****
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 40 of 55
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 41 of 55
                                                                       APPENDIX – GABAPENTIN PROJECT – Forrest plots for gabapentin vs. active comparator             1
                                                                       Dr. Thomas L. Perry, July 28, 2008
                                                                         Gabapentin project – Forrest plots for gabapentin vs. active comparator
                                                                                          Dr. Thomas L. Perry, July 28th 2008
                                                                       5 DBRCTs meet criteria for meta-analysis:
                                                                       Dallocchio is an active comparator trial (gabapentin vs. amitriptyline) which is open label;
                                                                       randomization is questionable – Excluded from analysis
                                                                       Data from 4DBRCTS – Morello (gabapentin vs. amitriptyline), Gilron (gabapentin vs. morphine),
                                                                       Chandra (gabapentin vs. Nortriptyline) and Rintala (gabapentin vs. amitriptyline) were used when
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 42 of 55




                                                                       available as an ITT with LOCF analysis
                                                                       For the following outcomes data were not reported or data as reported in
                                                                       the publication could not be used for meta-analysis: mortality (Outcome 01 for
                                                                       gabapentin/placebo comparison); number of patients with 1 or more SAEs (Outcome 02 for
                                                                       G/P comparison); PGIC (Outcome 05 in G/P comparison; mean change from baseline in pain
                                                                       scores (NRS/VAS scale, Outcome 06 in G/P comparison).
                                                                       For the following outcomes, data were available for meta-analysis:
                                                                       Total withdrawals (Outcome 03)
                                                                       G = 17/141(12.1%) vs. active comparator = 17/145(11.7%)
                                                                       RR 1.04 (0.55, 1.94); not statistically significant between treatment groups
                                                                       Withdrawal due to adverse events (Outcome 04)
                                                                       G = 8/103(7.8%) vs. active comparator = 7/107(6.5%)
                                                                       RR 1.21(0.47, 3.10); not statistically significant between treatment groups
                                                                       APPENDIX – GABAPENTIN PROJECT – Forrest plots for gabapentin vs. active comparator   2
                                                                       Dr. Thomas L. Perry, July 28, 2008
                                                                       Total number of patients with with adverse events (Outcome 09 in G/P analysis)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 43 of 55




                                                                       G = 18/23(78.3%) vs. active comparator = 17/24(70.4%)
                                                                       RR 1.10(0.79, 1.54); not statistically significant between treatment groups
                                                                       > 50% reduction in pain score from baseline (Outcome 07)
                                                                       G = 7/38(18.4%) vs. active comparator = 9/38(23.7%)
                                                                       RR 0.78 (0.32, 1.87); not statistically significant between treatment groups
                                                                       APPENDIX – GABAPENTIN PROJECT – Forrest plots for gabapentin vs. active comparator   3
                                                                       Dr. Thomas L. Perry, July 28, 2008
                                                                       Specific adverse events (Outcome 08 in G/P analysis)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 44 of 55




                                                                       No significant difference between treatment groups
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 45 of 55
                                                                       APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis:                                  1
                                                                       gabapentin vs. active comparators – Dr. Thomas L. Perry, July 28, 2008
                                                                                   GABAPENTIN VS. ACTIVE COMPARATOR TRIALS
                                                                                        Dr. Thomas L. Perry – July 28, 2008
                                                                       5 DBRCTS identified
                                                                       a) EXCLUDED: Dallocchio 2000 is an active comparator trial but open label and randomization
                                                                       is questionable – excluded from meta-analysis.
                                                                       b) INCLUDED: 4 trials:
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 46 of 55




                                                                       Morello 1999 – PDPN (Published data only)
                                                                       Outcome                                 Gabapentin                  Amitriptyline           Comments
                                                                                                            900 - 1800mg/day               25 - 75mg/day
                                                                       Screened                                   28 screened; 25 cross over                       No placebo
                                                                                                                                                                   control
                                                                       Randomized & exposed to               G/A 12/11 = 23                A/G 13/11 = 24
                                                                       drug
                                                                       Mortality                                                     NR
                                                                       Number of patients with 1                                     NR
                                                                       or more SAEs
                                                                       Total withdrawals                            3/23                          4/24
                                                                       WDAE                                         3/23                          3/24
                                                                       Global function                              NR                            NR
                                                                       Mean baseline to end                         NR                            NR               Cannot be used.
                                                                       point difference in pain                                                                    Numerical pain scale
                                                                                                                                                                   differs from all other
                                                                       score                                                                                       studies; not ITT
                                                                                                                                                                   analysis.
                                                                       50% reduction in pain                         NR                            NR
                                                                       score from baseline
                                                                       PGIC                                          NR                            NR              Cannot be used. 6-
                                                                       Note: “At least moderate relief”                                                            point “GRPR”
                                                                       (top 3/6 categories) on “Global       “at least moderate            “at least moderate      categorical score not
                                                                       Rating of Pain Relief” might         relief” as best 3/6 on        relief” as best 3/6 on   comparable with PGIC.
                                                                       otherwise be usable, but is only            “GRPR”                        “GRPR”            Analysis not ITT (only
                                                                       reported for completers of both                                                             shown for completers)
                                                                                                                   11/21                         14/21             therefore not
                                                                       arms, not directly comparable with   (crossover completers)        (crossover completers)
                                                                       Study No. 15 (Gilron) – presented                                                           comparable with 6-point
                                                                       only for interest.                                                                          score in Study No. 15
                                                                                                                                                                   (Gilron).
                                                                       Total number of patients                    18/23                         17/24
                                                                       with 1 or > AE
                                                                       Specific AE
                                                                       Somnolence
                                                                       Dizziness (includes postural                12/23                          6/24
                                                                       hypotension)                                13/23                          7/24
                                                                       Ataxia                                       5/23                          2/24
                                                                       Lethargy (asthenia)                          4/23                          5/24
                                                                       Total adverse events not reported.
                                                                       APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis:                                         2
                                                                       gabapentin vs. active comparators – Dr. Thomas L. Perry, July 28, 2008
                                                                       GILRON 2005 - MIXED NEUROPATHIC PAIN (Published data only)
                                                                       Outcome                               Gabapentin         Morphine                      Comments
                                                                                                             < 3200mg/day      < 120mg/day
                                                                       Screened                                    86 screened 57                (G + M) and Lorazepam (active
                                                                                                                    randomized                   placebo) arm not shown – see
                                                                                                                                                 Study No. 15 summary for
                                                                                                                                                 results.
                                                                       Total randomized                          57 of which 41
                                                                                                             completed all 4 treatment
                                                                                                                     periods
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 47 of 55




                                                                       Randomized and
                                                                       exposed to drug during:
                                                                       Period A                                   13                16
                                                                       Period B                                   11                10
                                                                       Period C                                   11                13
                                                                       Period D                                   13                10
                                                                       Total exposed to drug in
                                                                       each group                                 48                49
                                                                       Mortality                                  NR                NR
                                                                       Number of patients with                    NR                NR
                                                                       1 or more SAEs
                                                                       Total withdrawals                         4/48              5/49                   From G, M arms
                                                                       WDAE                                      0/48              0/49          *inferred from close reading of
                                                                                                                                                 p. 1328 under “Subjects” and
                                                                                                                                                 “Primary Outcome”
                                                                       Global function                            NR                NR
                                                                       Mean change from                           NR                NR           Cannot be used. Primary
                                                                       baseline in pain score                                                    outcome was mean pain scores in
                                                                                                                                                 each group at maximal tolerated
                                                                                                                                                 dose (p. 1327) – the change from
                                                                                                                                                 baseline can only be estimated
                                                                                                                                                 from figures and therefore is not
                                                                                                                                                 meta-analysable.
                                                                       >50% reduction in pain                     NR                NR
                                                                       score from baseline
                                                                       PGIC                                       NR                NR           Cannot be used. Reporting of best
                                                                                                                                                 3/6 categories of a 6-point scale is not
                                                                       Note: “At least moderate relief”                                          suitable for meta-analysis with best 2/7 of
                                                                       (top 3/6 categories )on Global Pain       “at least         “at least
                                                                                                                                                 the conventional PGIC scale. Best 3/6 on
                                                                       Relief Scale (“GPRS”) is calculable      moderate          moderate
                                                                                                                                                 “GPRS” is calculable for patients exposed
                                                                       for patients exposed to G, M but      relief” as best   relief” as best
                                                                                                                                                 to G, M, but not comparable with Study
                                                                       cannot be compared with Study No.     3/6 on “GPRS”     3/6 on “GPRS”
                                                                                                                                                 No. 2 (Morello) which reports only
                                                                       2 (Morello) which reports only on
                                                                                                                                                 completers.
                                                                       completers. Presented for interest.
                                                                                                                27/48             35/49
                                                                       Total number of patients                   NR                NR           Not reported numerically –
                                                                       with 1 or > AE                                                            impossible to calculate accurately
                                                                                                                                                 for meta-analysis
                                                                       Specific AE (at max                        NR                NR           Provided as % without providing
                                                                       tolerated dose)                                                           denominators at week 4 in each Rx
                                                                                                                                                 group – also active placebo
                                                                                                                                                 comparator (lorazepam)
                                                                                                                                                 invalidates comparisons for
                                                                                                                                                 specific outcomes used in meta-
                                                                                                                                                 analysis.
                                                                       Total adverse events not reported
                                                                       APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis:          3
                                                                       gabapentin vs. active comparators – Dr. Thomas L. Perry, July 28, 2008
                                                                       CHANDRA 2006 – PHN (Published data only)
                                                                       Outcome                   Gabapentin          Nortriptyline   Comments
                                                                                                 2700mg/day           150mg/day
                                                                       Screened                  110 screened; 76 randomized         ITT with LOCF in
                                                                                                                                     G = 34 and NT = 36
                                                                       Randomized                    38                   38
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 48 of 55




                                                                       Mortality                     NR                   NR
                                                                       Number of                     NR                   NR
                                                                       patients with 1 or
                                                                       more SAEs
                                                                       Total withdrawals            4/38                 2/38
                                                                       WDAE                         NR                    NR
                                                                       Global function              NR                    NR
                                                                       Mean baseline to     Data cannot be used     Data cannot be   See detailed study
                                                                       end point diff in                                 used        summary.
                                                                       pain score
                                                                       50% reduction in             7/38                 9/38        Suitable for meta-
                                                                       pain score from                                               analysis (although not
                                                                       baseline                                                      apparently a pre-
                                                                                                                                     defined outcome)
                                                                       PGIC                          NR                  NR
                                                                       Total number of       Data cannot be used Data cannot be See detailed study
                                                                       patients with 1 or                               used         summary.
                                                                       > AE
                                                                       Specific AE           Data cannot be used Data cannot be See detailed study
                                                                                                                        used         summary.
                                                                       Total adverse events data cannot be used (See detailed study summary).
                                                                       APPENDIX – GABAPENTIN PROJECT – Summary tables for Forrest plot analysis:          4
                                                                       gabapentin vs. active comparators – Dr. Thomas L. Perry, July 28, 2008
                                                                       RINTALA 2002 - SPINAL CORD INJURY NEUROPATHIC PAIN
                                                                       (Published data only)
                                                                       Outcome                       Gabapentin       Amitriptyline        Comments
                                                                                                     3600 mg/day       150mg/day
                                                                       Screened                       50 screened; randomized 38       Diphenhydramine
                                                                                                                                       (active placebo) arm
                                                                                                                                       not shown – see
                                                                                                                                       Study No. 19
                                                                                                                                       summary for results.
                                                                                                                                       22/38(58%)
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 49 of 55




                                                                                                                                       completed all 3
                                                                                                                                       phases (G, A, D)
                                                                       Randomized (phase1/2/3)       13/9/10 =32       12/12/10 = 34
                                                                       and exposed to drug
                                                                       Mortality                         NR                 NR
                                                                       Number of patients with 1         NR                 NR
                                                                       or more SAEs
                                                                       Total withdrawals                 6/32              6/34              Use data
                                                                       WDAE                              5/32              4/34              Use data
                                                                       Global function                   NR                 NR
                                                                       Mean baseline to end          Not reported as ITT with LOCF     Data cannot be used
                                                                       point diff in pain score
                                                                       50% reduction in pain             NR                 NR
                                                                       score from baseline
                                                                       PGIC                              NR                 NR
                                                                       Total number of patients          NR                 NR
                                                                       with 1 or > AE
                                                                       Specific AE                       NR                 NR
                                                                       Absolute numbers not
                                                                       reported but presented as
                                                                       % of side effect reports
                                                                       Total adverse events not reported
                                                                                                          Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                      Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                  Patient Global Impression of Change: Histograms of Data
                                                                       The following document contains histograms, representing the results from Patient Global Impression of Change (PGIC) on a 7-
                                                                       point ordinal scale. The first histogram pools the results for all 7 trials in which PGIC was a pre-specified endpoint. Individual
                                                                       histograms for each of these 7 trials follow.
                                                                       Backonja (945-210), Rowbotham (945-211), and Gordh (945-271) used the following seven-point scale:
                                                                       1 = Much Improved; 2 = Moderately Improved; 3 = Minimally Improved; 4 = No Change; 5 = Minimally Worse; 6 = Moderately
                                                                       Worse; 7 = Much Worse.
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 50 of 55




                                                                       Reckless (945-274), Rice (945-295), Serpell (945-430-306), and Parsons (945-1008) employed the following seven-point scale:
                                                                       1 = Very Much Improved; 2 = Much Improved; 3 = Minimally Improved; 4 = No Change; 5 = Minimally Worse; 6 = Much Worse; 7 =
                                                                       Very Much Worse.
                                                                       The denominators shown represent the number of patients who were randomized to and received at least 1 dose of placebo or
                                                                       gabapentin (true ITT denominators). For certain trials, the reported number of patients who completed PGIC evaluations was not
                                                                       consistent with the number of patients who received a given treatment. Patients for whom PGIC evaluations at “endpoint” are
                                                                       reported as missing, plus any other patients missing from the true ITT denominator for each study (placebo or gabapentin groups)
                                                                       comprise the “Not Evaluated” category.
                                                                                                                                                                                                           1 of 6
                                                                                                                 Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                             Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                                                   Patient Global Impression of Change
                                                                                                                                              Pooled Results
                                                                             100
                                                                              90
                                                                              80
                                                                              70
                                                                              60
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 51 of 55




                                                                              50                                                                                                                                                                Placebo
                                                                         %




                                                                                                                                                313/837                                                                                         Gabapentin
                                                                              40
                                                                              30                                                                    278/1134
                                                                                                         246/1134
                                                                                        182/1134                     163/837       219/1134
                                                                              20
                                                                                   66/837          103/837                                                         76/837                                                   68/837   108/1134
                                                                              10                                                                                            49/1134   32/837
                                                                                                                                                                                               39/1134   16/837   13/1134
                                                                               0
                                                                                            1                2                 3                     4                  5                  6                  7              Not Evaluated
                                                                                                                                              PGIC Score (Verbal Outcomes Differ)
                                                                                                                                       Absolute Difference
                                                                       PGIC Score (Verbal Outcomes Differ) % Placebo* % Gabapentin*
                                                                                                                                    % Gabapentin - % Placebo*
                                                                                          1                                        7.89       8.16        16.0
                                                                                          2                                        12.3       9.39        21.7
                                                                                          3                                        19.5      -0.162       19.3
                                                                                          4                                        37.4       -12.9       24.5
                                                                                          5                                        9.08       -4.76        4.3
                                                                                          6                                        3.82      -0.384        3.4
                                                                                          7                                        1.91      -0.765       1.15
                                                                                   Not Evaluated                                   8.12       1.40        9.52
                                                                       *rounded to three significant figures
                                                                       Because the studies reported on 2 slightly different 7-point scales, the pooled histogram shows along the horizontal axis the number
                                                                       of patients classified by 7 numerical outcomes (see previous page) and the category “Not Evaluated”, for placebo (light blue) and
                                                                       gabapentin (maroon).
                                                                       The table below the pooled histogram shows the percentage of patients classified at study “endpoint” (LOCF) for each of the same
                                                                       8 categories (7 numerical categories as well as “Not Evaluated”) for placebo and gabapentin. The absolute difference between the
                                                                       two percentages is also shown in the extreme right column. Statistical significance of the differences has not been tested, as the
                                                                       pre-specified outcome subjected to meta-analysis was the number (and percentage) of patients reporting the rating “moderately or
                                                                       much improved” (equivalent to “much or very much improved”), comprising the best 2 categories on the 7-point PGIC. The
                                                                       individual studies typically report tests of statistical significance for the overall pattern of the 7-point scores for the comparison
                                                                       gabapentin vs. placebo and/or for the best 2 categories, but not for each category.
                                                                                                                                                                                                                                             2 of 6
                                                                                                       Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                   Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                            Patient Global Impression of Change
                                                                                                                     Backonja (945-210)
                                                                           100
                                                                            90
                                                                            80
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 52 of 55




                                                                            70
                                                                            60
                                                                                                                                                                                                      Placebo
                                                                            50
                                                                       %




                                                                                     33/84                                                                                                            Gabapentin
                                                                            40
                                                                                                                           25/81
                                                                            30                                                18/84
                                                                                 12/81        13/8114/84     13/81
                                                                            20                                    12/84
                                                                                                                                         5/81           6/81                        5/81 5/84
                                                                            10                                                                                       2/81
                                                                                                                                                1/84        1/84            0/84
                                                                             0
                                                                                    Much      Moderately     Minimally    No Change     Minimally      Moderately Much Worse           Not
                                                                                  Improved    Improved       Improved                    Worse          Worse                       Evaluated
                                                                                                             Patient Global Impression of Change
                                                                                                                     Rowbotham (945-211)
                                                                           100
                                                                            90
                                                                            80
                                                                            70
                                                                                                                           69/116
                                                                            60
                                                                                                                                                                                                       Placebo
                                                                       %




                                                                            50
                                                                                                                                                                                                       Gabapentin
                                                                            40
                                                                            30
                                                                                     21/113       26/113         19/113      25/113                                                          19/113
                                                                            20                                                                                                      14/116
                                                                                               8/116         9/116                        5/116
                                                                                                                                             3/113       5/116
                                                                            10   6/116
                                                                                                                                                             0/113    0/116 0/113
                                                                             0
                                                                                   Much       Moderately     Minimally    No Change      Minimally     Moderately    Much Worse Not Evaluated
                                                                                 Improved     Improved       Improved                     Worse         Worse
                                                                                                                                                                                                            3 of 6
                                                                                                                                  Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                                              Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                                                                           Patient Global Impression of Change
                                                                                                                                                                    Reckless (945-224)
                                                                           100
                                                                            90
                                                                            80
                                                                            70
                                                                                                                                                                                                                                                                                 Placebo
                                                                            60
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 53 of 55




                                                                                                                                                                                                                                                                                 Gabapentin 600 mg/day
                                                                            50
                                                                       %




                                                                                                                                                                                                                                                                                 Gabapentin 1200 mg/day
                                                                            40                                                                    27/82
                                                                                                                                             23/82                                                                                                                               Gabapentin 2400 mg/day
                                                                                                                           22/82     21/77
                                                                            30                                                 22/84                          16/77
                                                                                                                  16/77                               19/84       18/82
                                                                                                    14/82                                                                 13/82
                                                                            20       10/77              14/84      13/82                                                                    7/82                                                            9/82 11/84
                                                                                             9/82                                                                           11/84                     5/85
                                                                                                                                                                                                                                                        5/77
                                                                            10                                                                                                       5/77      4/82          2/77 3/82 1/82 1/84
                                                                                                                                                                                                                                 2/77
                                                                                                                                                                                                                                        0/82    1/84            1/82
                                                                                                                                                                                                                                           0/82
                                                                             0
                                                                                        Very Much                Much Improved           Minimally                 No Change        Minimally Worse            Much Worse            Very Much         Not Evaluated
                                                                                        Improved                                         Improved                                                                                     Worse
                                                                                                                                                            Patient Global Impression of Change
                                                                                                                                                                       Gordh (945-271)
                                                                            100
                                                                             90
                                                                             80
                                                                             70
                                                                             60
                                                                             50                                                                                                                                                                                                              Placebo
                                                                       %




                                                                                                                                                                          48/111
                                                                                                                                                                                                                                                                                             Gabapentin
                                                                             40
                                                                                                                                                                              36/113
                                                                             30
                                                                                                                                                          25/113                                   23/111
                                                                             20                                                                                                                                                                                               15/113
                                                                                                                                                 14/111                                                                                                                  13/111
                                                                                                        11/113                  10/113                                                                                              7/113
                                                                             10                                              6/111                                                                           5/1131
                                                                                               2/111                                                                                                                        2/111                  3/111 7/113
                                                                                 0
                                                                                        Much Improv ed                 Moderately                  Minimally              No Change            Minimally Worse             Moderately           Much Worse          Not Ev aluated
                                                                                                                           Improv ed               Improv ed                                                                  Worse
                                                                                                                                                                                                                                                                                           4 of 6
                                                                                                                  Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                              Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                                                   Patient Global Impression of Change
                                                                                                                                              Rice (945-295)
                                                                           100
                                                                           90
                                                                           80
                                                                           70                                                                                                                                                                      Placebo
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 54 of 55




                                                                           60
                                                                                                                                                                                                                                                   Gabapentin 1800 mg
                                                                           50
                                                                       %




                                                                                                                                             45/111
                                                                                                                                                                                                                                                   Gabapentin 2400 mg
                                                                           40
                                                                                                                30/108                          34/115
                                                                           30                               26/115            22/115                 27/108
                                                                                                                       23/111       21/108
                                                                           20               18/115
                                                                                                  12/108
                                                                                                         17/11
                                                                                                                                                                                                                                          10/108
                                                                                    7/111                                                                                                                                             8/115
                                                                           10                                                                                 7/111
                                                                                                                                                                   3/115
                                                                                                                                                                         3/108     3/115 5/108
                                                                                                                                                                                                     3/111
                                                                                                                                                                                                             1/115           6/111
                                                                                                                                                                               3/111                                 0/108
                                                                               0
                                                                                        Very Much           Much           Minimally         No Change          Minimally        Much Worse           Very Much              Not Ev aluated
                                                                                        Improv ed         Improv ed         Improv ed                            Worse                                   Worse
                                                                                                                                 Patient Global Impression of Change
                                                                                                                                         Serpell (945-430-306)
                                                                               100
                                                                                   90
                                                                                   80
                                                                                   70
                                                                                   60
                                                                                                                                                                                                                                                     Placebo
                                                                                   50
                                                                           %




                                                                                                                                                 63/152                                                                                              Gabapentin
                                                                                   40                                                                55/153
                                                                                   30
                                                                                                                  30/153        31/152
                                                                                   20                                              21/153
                                                                                                 18/153
                                                                                              9/152            13/152                                              13/152                                                            14/152
                                                                                                                                                                                                                                         12/153
                                                                                   10                                                                                    8/153               6/153
                                                                                                                                                                                     6/152                    3/152 3/153
                                                                                    0
                                                                                            Very Much      Much Improved       Minimally         No Change         Minimally       Much Worse                Very Much          Not Evaluated
                                                                                            Improved                           Improved                             Worse                                     Worse
                                                                                                                                                                                                                                                             5 of 6
                                                                                                        Gabapentin project – Appendix - Patient Global Impression of Change Histograms: Gabapentin vs. placebo
                                                                                                                                    Prepared by K. Innes, reviewed by Dr. T. L. Perry, - FINAL - August 7th, 2008
                                                                                                                  Patient Global Impression of Change
                                                                                                                           Parsons (945-1008)
                                                                           100
                                                                            90
                                                                            80
                                                                            70
Case 1:04-cv-10981-PBS Document 1457-16 Filed 10/06/08 Page 55 of 55




                                                                            60
                                                                            50                                                                                                                                Placebo
                                                                       %




                                                                            40
                                                                                                                                                                                                              Gabapentin
                                                                                                   53/200      52/189
                                                                            30                                               47/189
                                                                                                                                  41/200
                                                                            20        32/200   30/189               30/200
                                                                                 20/189                                                    18/189                                                    18/200
                                                                            10                                                                  10/200    8/189   12/200                    11/189
                                                                                                                                                                           3/189   4/200
                                                                             0
                                                                                 Very Much       Much           Minimally    No Change     Minimally     Much Worse        Very Much       Not Evaluated
                                                                                 Improved      Improved         Improved                    Worse                            Worse
                                                                                                                                                                                                                        6 of 6
